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                           THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC,
              Plaintiff,
                                                   CIVIL ACTION NO. 1:19-cv-1605-RGA
      v.
                                                    JURY TRIAL DEMANDED
PETCUBE, INC.,

              Defendant.


           NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Plaintiff Rothschild Broadcast Distribution Systems, LLC hereby files this Notice of

 Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

 without order of court by filing a notice of dismissal at any time before service by the

 adverse party of an answer. Accordingly, Rothschild Broadcast Distribution Systems, LLC

 hereby voluntarily dismisses this action against Petcube, Inc., without prejudice, pursuant to

 Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.



Dated: October 15, 2019                     Respectfully submitted,

                                            /s/ Stamatios Stamoulis .
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